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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )       Case No. S5-4:15 CR 404(3) HEA/NAB
       v.                                    )
                                             )       This is a Capital Case
ANTHONY JORDAN,                              )
                                             )
                      Defendant.             )

                  DEFENDANT’S MOTION TO SUPPRESS EVIDENCE

       COMES NOW defendant, Anthony Jordan, by and through undersigned counsel, and

moves to suppress as evidence any and all items seized by law enforcement officers from the

following described properties and vehicles: 4223 West Sacramento, St. Louis, Missouri; 4217

East Sacramento, St. Louis, Missouri; 64 Brighton Park Drive, St. Charles, Missouri; a 2005

Pontiac Grand Prix; a 2004 Pontiac GTO Coupe; and a 2004 Silver Chevrolet Silverado SS; as

well as any and all evidence derived therefrom, including, but not limited to, the search and

extraction of information from a Samsung Galaxy SIII T-Mobile cellular phone discovered

during the search of the 2005 Pontiac Grand Prix mentioned above. In support of this motion,

defendant states as follows:

I.     FACTS

       A.      Search of 4223 West Sacramento

       1.      On August 6, 2015, DEA Agent Eric Lanham applied for, submitted an affidavit

in support of, and obtained a warrant to search the property located at 4223 East Sacramento, St.

Louis, Missouri 63115.

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       2.        On August 7, 2015, a team of officers led by Agent Lanham and St. Louis

Metropolitan Police Detective Leo Rice searched the residence at 4223 West Sacramento in lieu

of 4223 East Sacramento, the address listed in the application, affidavit, and search warrant. A

number of items, including various firearms, were seized by law enforcement during the course

of the search.

       B.        Search of 4217 East Sacramento

       3.        On August 6, 2015, Agent Lanham also applied for, submitted an affidavit in

support of, and obtained a warrant to search the property located at 4217 East Sacramento, St.

Louis, Missouri 63115.

       4.        The affidavit submitted by Agent Lanham in support of his request for the warrant

to search 4217 East Sacramento was the same affidavit he submitted in support of his application

for a warrant to search 4223 East Sacramento. It described 4217 East Sacramento as the location

of “a garage” which Jordan purportedly utilized “for the storage of vehicles, firearms, gloves,

masks, and/or other items used to carry out or otherwise conceal the identity of himself or others

involved in shootings.”

       5.        On August 7, 2015, a team of officers led by St. Louis Metropolitan Police

Detective Marc Wasen searched the garage located at 4217 East Sacramento. A number of

items, including ammunition and several vehicles believed to be stolen, were seized by law

enforcement during the course of the search.




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       C.      Protective Sweep of 64 Brighton Park Drive

       6.      On August 26, 2015, a grand jury returned an indictment charging Jordan with

three drug-related offenses, two of which were death eligible crimes in violation of 21 U.S.C.

§ 924(c) and (j).

       7.      On August 27, 2015, federal and state investigators arrested Jordan at his

residence at 64 Brighton Park Drive in St. Charles County, Missouri.

       8.      When the police arrived to arrest Jordan, he was inside his residence with his

three-year-old and five-month-old daughters.

       9.      After arresting Jordan and securing the children, a slew of law enforcement

officers entered the residence, and conducted a protective “security sweep.”

       D.      Search of 64 Brighton Park Drive

       10.     Following the protective sweep, and on the same day, law enforcement officers

applied for and obtained a warrant to search the premises at 64 Brighton Park Drive, specifically

defined in the warrant as “a two story, single family residence with a brick facade and black

shutters in the front of the residence, with an attached two car garage, bearing the numbers ‘64’

on the lefthand side.”

       11.     During the course of the search, the police seized a number of items, including

various firearms.

       E.      Seizure of 2005 Pontiac Grand Prix

       12.     In addition to the items seized from the residence located at 64 Brighton Park

Drive, law enforcement officers seized a 2005 Pontiac Grand Prix that was parked in the

driveway of the residence. The Grand Prix was not mentioned in the search warrant.

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       F.     Seizure of Pontiac GTO and Chevrolet Silverado

       13.    On August 28, 2015, the police received a call from an employee at PUR

Performance, 3725 Harry S. Truman Road, St. Charles, Missouri, informing them that the

company was in possession of a Pontiac GTO and a Chevrolet Silverado SS that had previously

been left at the shop by Anthony Jordan for automotive services.

       14.    Following the call, Detective Dan Early of the St. Louis Metropolitan Police

Department appeared at PUR Performance, seized the vehicles without a warrant, and had them

towed to the FBI office located at 2222 Market Street in downtown St. Louis.

       G.     Searches of Pontiac Grand Prix, Pontiac GTO and Chevrolet Silverado

       15.    On September 16, 2015, Special Agent Brandon Burke obtained search warrants

to search the Pontiac Grand Prix seized from the driveway of 64 Brighton Park Drive; and the

Pontiac GTO and Chevrolet Silverado seized from PUR Performance.

       16.    The vehicles were searched on September 26, 2015 at the FBI office located at

2222 Market Street in downtown St. Louis.

       17.    The searches were supervised by Special Agent Burke, and included St. Louis

Police Detectives Dan Early and Leo Rice.

       18.    A number of items were seized from the Pontiac Grand Prix, including a T-

Mobile Samsung Galaxy SIII phone, model: SGH-T99; an Apple iPod, model A1421; a black

bag containing one 5.7 mm magazine containing twenty rounds; one .45 caliber magazine

containing fifteen rounds; one 5.7 mm magazine containing nineteen rounds; and one .45 caliber

magazine.




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       19.     Items seized from the Pontiac GTO include a black facial mask; a pair of black

gloves; two .50 caliber rounds; and various paperwork, including vehicle registration papers in

the name of defendant Jordan.

       20.     A .45 caliber magazine loaded with thirteen rounds; a black glove; a gun case;

and a sealed box of 5.7 mm x 28 mm ammunition were seized from the Chevrolet Silverado.

       H.      Searches of Fifteen Individual Cell Phones, Including Samsung Galaxy SIII,
               Model SGH-T99

       21.     On October 6, 2015, FBI Special Agent Brandon Burke obtained a search warrant

to search 15 individual cell phones in the custody of the FBI, including the Samsung Galaxy SIII

phone, model number SGH-T99 seized during the search of the Pontiac Grand Prix.

       22.     Said search warrant directed any authorized law enforcement officer to search the

described devices on or before October 14, 2015.

       23.     Two weeks after the expiration of the search warrant, on October 28, 2015, law

enforcement officers extracted information from the Samsung SGH-T99 Galaxy SIII cell phone,

including, among other things, call logs, contacts, SMS matches, and data files.

II.    ARGUMENT AND AUTHORITIES

       24.     The Fourth Amendment prohibits general warrants by providing that “no warrant

shall issue, but upon probable cause, supported by oath or affirmation, and particularly

describing the place to be searched and the persons or things to be seized.” U.S. Const. amend

IV.

       25.     “Probable cause” is a fluid concept involving a common sense decision as to

“whether, given all the circumstances . . . there is a fair probability that contraband or evidence

of a crime will be found in a particular place.” Illinois v. Gates, 462 U.S. 213, 238 (1983).
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        26.     The particularity requirement prevents general exploratory searches, and

discriminatory rummaging through one’s belongings. Coolidge v. New Hampshire, 403 U.S.

443, 467 (1971).

        27.     To successfully challenge the issuance of a warrant, a defendant must show that

the issuing court lacked a “substantial basis for concluding that probable cause existed.” Gates,

462 U.S. at 238-39; see also United States v. Kattaria, 553 F.3d 1171, 1175 (8th Cir. 2009)

(citing United States v. LaMorie, 100 F.3d 547, 552 (8th Cir. 1996)); United States v. Buchanan,

574 F.3d 554, 561 (8th Cir. 2009). “Whether a search warrant is supported by probable cause is

determined by the totality of the circumstances.” Kattaria, 553 F.3d at 1175.

        28.     Warrantless searches “are per se unreasonable under the Fourth Amendment –

subject only to a few specifically established and well-delineated exceptions. Coolidge, 403 U.S.

at 454-55.

        29.     The Fourth Amendment provides the same protection against warrantless seizures

of property “even though no search within the meaning of the Amendment has taken place.”

Sodal v. Cook County, 506 U.S. 56, 68 (1992). When evidence gathered through a warrantless

search is challenged through a motion to suppress, the government bears the burden of

demonstrating that the search was justified by an exception to the Fourth Amendment’s warrant

requirement. United States v. Kennedy, 427 F.3d 1136, 1140 (8th Cir. 2005); See also Welsh v.

Wisconsin, 466 U.S. 740, 749-50 (1984); United States v. Ramirez, 676 F.3d 755, 760 (8th Cir.

2012). The same is true of warrantless seizures. See, e.g., United States v. Lewis, 864 F.3d 937,

947    (8th   Cir.   2017)     (“[t]he Government failed   to   carry   its burden to   show   the

initial warrantless seizure . . . was permitted”).

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       A.      All Items Seized From 4223 West Sacramento Should Be Suppressed.

               i.     The items seized from 4223 West Sacramento should be suppressed
                      because the police searched the wrong residence.

       30.     As detailed in section I.A, supra, in the course of executing the warrant issued for

4223 East Sacramento, law enforcement officers searched the residence and property at 4223

West Sacramento instead. All of the items seized during that search must be suppressed because

they were the subject of a warrantless search. Officials never applied for, or obtained, a warrant

to conduct the search of the property at 4223 West Sacramento.

       31.     The warrantless search of 4223 West Sacramento was not supported by a lawfully

recognized exception to the Fourth Amendment warrant requirement. The good faith exception

to the warrant requirement outlined in United States v. Leon, 468 U.S. 897 (1984), does not

apply to justify the search because the officers who executed the warrant were familiar with the

area, and proceeded with the search of 4223 West Sacramento despite knowing that it was not

4223 West Sacramento listed in the application, affidavit, and search warrant. See id. at 922-23.

       32.     The officers’ knowledge of the surrounding area is evidenced by the fact that, at

the same time that the warrantless search of 4223 West Sacramento was taking place, law

enforcement personnel were simultaneously searching the property located at 4217 East

Sacramento, a mere three doors down from the property listed in the warrant. Indeed, law

enforcement personnel had supported their request for the two searches with the same affidavit;

the searchers were part of a single investigation. From this, the officers would necessarily have

been aware that St. Louis’s Sacramento Avenue was divided into “East” and “West” sections.

Any reasonable officer would have wondered why the two simultaneous searches were taking

place several blocks away from one another, when the addresses listed in the recently-obtained
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search warrants – 4217 East Sacramento and 4223 East Sacramento – were a mere six digits

apart. Surely the officers searching the two properties would have noticed that the two searches

were occurring several blocks apart from one another, when the two warrants clearly authorized

searches of two properties which were three doors apart from one another. See Fig. 1, below.




Fig. 1

         33.   Where, as here, law enforcement officers conduct a warrantless search, the

validity of that search depends on whether the officer’s failure to acknowledge the absence of a

warrant “was objectively understandable and reasonable.” Maryland v. Garrison, 480 U.S. 79,

88 (1987). In Garrison, officers obtained a warrant that authorized the search of a floor of an

apartment building, without recognizing that there were two apartments on that floor or

distinguishing between the two apartments. Warrant in hand, the officers then searched the

wrong apartment. Id. at 80. In evaluating the reasonableness of the officers’ conduct in order to
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determine whether the items seized during the search should be suppressed, the Court examined

the “objective facts available to the officers at the time” of the search. Garrison’s “focus on

reasonableness is emblematic of the Supreme Court’s general approach to the Fourth

Amendment,” and consequently serves as a touchstone for the validity of any warrantless search.

United States v. Houck, 888 F.3d 957, 961 (8th Cir. 2018). As a result, a warrantless search is

valid only where the officers involved have “t[aken] every step that could reasonably be

expected of them” to clarify the scope of the search. Massachusetts v. Sheppard, 468 U.S. 981,

989 (1984).

       34.     Accordingly, any evaluation of the validity of the search of 4223 West

Sacramento depends on the reasonableness of the executing officers’ conduct in conducting the

search without a warrant. Here, the officers did not take reasonable steps to ensure that they

were searching the correct property, see id.; indeed, they could and should have recognized (and

likely did recognize) that they were searching a property on West Sacramento Avenue, whereas

the warrant authorized them to search a property on East Sacramento Avenue. A hearing is

appropriate in this context so that the Court may determine what objective “information [was]

available to” the officers at the time that they carried out the warrantless search. See Garrison,

480 U.S. at 85.

       35.     In cases where it has relied on this reasonableness standard to uphold searches

that were erroneously conducted without a warrant, the Eighth Circuit has routinely cited its

decades-old decision in United States v. Gitcho, 601 F.2d 369 (8th Cir. 1979). See, e.g., United

States v. Thomas, 263 F.3d 805 (8th Cir. 2001). But Gitcho involved a fact pattern very different

from the situation at issue here, and should not control. In Gitcho, officers mistakenly obtained a

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warrant for an address that did not exist, even though the executing agents were highly familiar

with the property that they intended to (and ultimately did) search. 601 F.2d at 370-71. The

court observed that the validity of the search was “admittedly close,” but ultimately found itself

reassured by the fact that the address erroneously listed in the warrant was not a real property.

Id. at 372. This mitigated the risk of a “mistaken search of the wrong property.” Id. This

circumstance is not present here: the search warrant authorized the search of a property that did

exist, making it highly likely that a “mistaken search of the wrong property” would occur. See

id.

       36.     This case is instead comparable to United States v. Herron, 215 F.3d 812 (8th Cir.

2000), where the Eighth Circuit suppressed evidence seized during a search of a defendant’s

residence. Officers had applied for and obtained warrants to search a farm where members of

the defendant’s family grew marijuana, and for defendant’s residence, basing both applications

on a single affidavit which provided no probable cause for the conclusion that marijuana would

be found at the residence. Id. at 813-14. In addition to the fact that the affidavit was deficient,

the court emphasized that “the officers involved should have been fully aware of th[ose]

deficiencies . . . .” Id. (emphasis added). Here, too, there is every indication that the law

enforcement personnel involved were familiar with the Sacramento Avenue area, and would

necessarily have been aware that they meant to search a property on West (and not East)

Sacramento Avenue. Only through a hearing can the scope of the officers’ knowledge on this

point become clear.

       37.     Indeed, in situations like this one where a warrant is issued in error, it is routine

for law enforcement personnel to correct the mistake before undertaking a warrantless search of

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the wrong premises. In United States v. Skarda, 845 F.3d 370 (8th Cir. 2016), officers did just

that, contacting a magistrate prior to the search as soon as they realized that the warrant they had

previously obtained authorized a search of the wrong address.          The officers explained the

situation to the magistrate, edited the warrant, initialed the change, and obtained the magistrate’s

approval. Only then did they execute a search of the intended property—a search which the

Eighth Circuit upheld. Id. at 373-74, 377. Officers could and should have done the same here.

Before executing the search of 4223 West Sacramento, they should have realized (and perhaps

they did realize) that the warrant authorized a search of the wrong property—and at that point

they could easily have contacted a magistrate to correct the error. Their failure to do so—despite

the existence of a clear and straightforward process for amending the deficient warrant—

underscores the unreasonableness of their approach. For the foregoing reasons, Mr. Jordan

requests an evidentiary hearing so that the Court may determine what information was available

to the officers at the time of the warrantless search, and whether they acted reasonably in

carrying out the search despite that information.

                ii.    The items seized from 4223 West Sacramento should be suppressed
                       because the warrant was not returned promptly.

       38.     Alternatively, the search warrant for 4223 East Sacramento is defective because

although it was issued on August 6, 2015 and executed the next day, it was not returned until

October 19, 2015—more than ten weeks after its issuance and execution. Rule 41(f)(1)(D) of the

Federal Rules of Criminal Procedure mandates that after a warrant is executed, the executing

officer “must promptly return it” along with an inventory to the designated magistrate judge.

When an executing officer violates Rule 41(f)(1)(D)’s prompt-return requirement, the

appropriateness of exclusion as a remedy depends on whether the defendant has shown either
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that he was prejudiced or that the officer acted in reckless disregard of the requirement. United

States v. Beckmann, 786 F.3d 672, 681 (8th Cir. 2015); see also United States v. Easton, No.

1:14-cr-00017, 2014 WL 5791560 at *10 (Crites-Leoni, M.J.) (Rule 41 violation did not merit

exclusion because the defendant had not asserted “any prejudice” or “that there was an

intentional and deliberate disregard of the provision requiring that the warrant be returned”).

Here, whether the executing officer acted in reckless disregard of Rule 41(f)(1)(D)’s return

requirement is a factual issue that can and should be resolved through an evidentiary hearing.

       B.      All Items Seized From 4223 West Sacramento And 4217 East Sacramento
               Should Be Suppressed Because The Warrants Were Based On Stale
               Information.

       39.     Alternatively, the search warrant for 4223 East Sacramento is defective, as is the

search warrant for 4217 East Sacramento, because the affidavit submitted in support of the two

warrants was based on stale and non-corroborated hearsay information from cooperating

witnesses. On information and belief, and as the affidavit in support of the applications for the

warrants suggests, law enforcement officers based their request on information provided by the

cooperating witness during a July 21, 2015 “drive-around.” At that time, the witness identified

the subject properties as locations where evidence might be found. Yet the same cooperating

witness had been arrested on January 30, 2015, and was in custody for the five and a half months

preceding the “drive-around.” He could not have known whether the properties were still being

used (as he claimed) in July 2015 to support a narcotics-trafficking operation, and there was no

probable cause to believe that at the time of the search the residence or garage would contain

evidence of a crime. The stale and uncorroborated information provided by the cooperating




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witness did not provide officers with probable cause to believe that contraband or evidence of a

crime would be found on the premises.

       40.     If the information supporting a warrant “is not sufficiently close in time to the

issuance of the warrant and the subsequent search conducted,” then probable cause cannot be

“said to exist at the time of the search.” United States v. Colbert, 828 F.3d 718, 727 (8th Cir.

2016) (citing United States v. Brewer, 588 F.3d 1165, 1173 (9th Cir. 2009)). Whether the

information is “sufficiently close in time” to the issuance and the search depends on a number of

factors which include the “lapse of time,” the “nature of the criminal activity” in question, and

the “kind of property” seized. Id. There is “no fixed formula for determining when information

has become stale”; rather, “[t]he timeliness of the information supplied in an affidavit depends

on the circumstances of the case.” United States v. Smith, 266 F.3d 902, 905 (8th Cir. 2001)

(citations omitted).

       41.     The exclusion of evidence seized based on stale information makes sense in light

of the fact that a search’s validity hinges on the existence of probable cause, and probable cause

depends, in turn, on whether “there is a fair probability that contraband or evidence of a crime

will be found in a particular place.” Kennedy, 427 F.3d at 1141 (8th Cir. 2005). It is “axiomatic

that probable cause must exist at the time of the search and not merely at some earlier time.” Id.

It is the government’s burden to demonstrate that probable cause existed at the time of the

search and not merely at some earlier time. Id.

       42.     In Kennedy, the Eighth Circuit upheld the exclusion of evidence seized pursuant

to a search that had been carried out based on stale information—and, therefore, without

probable cause. There, the trial court had concluded—after a hearing—that officers had lacked

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probable cause to search the defendant’s vehicle for methamphetamine, since the informant who

provided the information that gave rise to the search had not seen drugs in the defendant’s car in

at least six months. Id.

       43.     The same result is appropriate here. In the applications for the two search

warrants, Agent Lanham posited that evidence of an ongoing narcotics operation would be found

in the subject properties based on information provided in July 2015 by a cooperating witness.

But that cooperating witness had been in custody, and had therefore not been in the subject

property, in at least five and a half months. Any supposition by that witness that the properties

contained evidence of a crime was “stale,” and could not have provided probable cause for the

assumption that evidence would be found there in August 2015.

       44.     Since “[t]here is “no fixed formula for determining when information has become

stale,” see Smith, 266 F.3d at 905, a hearing is appropriate so that Mr. Jordan may present

evidence as to why the circumstances of this case do not support probable cause for the two

searches.

       C.      All Items Seized From 64 Brighton Park Drive Should Be Suppressed.

                i.     The search warrant for 64 Brighton Park Drive is defective because it
                       was based on information obtained during the course of an overbroad
                       protective security sweep.

       45.     Anthony Jordan was arrested outside of his residence at 64 Brighton Park Drive

on August 27, 2015.

       46.     In Maryland v. Buie, 494 U.S. 325 (1990), the Supreme Court held that the Fourth

Amendment permits a limited protective sweep in connection with an in-home arrest when law

enforcement officers possess a reasonable belief based on specific and articulable facts that the


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area to be swept harbors an individual(s) causing a danger to those on the scene. The Court

defined a protective sweep as “a quick and limited search of the premises . . . narrowly confined

to a cursory visual inspection of those places in which a person might be hiding.” Id. at 334. A

protective sweep may last “no longer than it takes to complete the arrest and depart the

premises.” Id. at 335-36.

       47.     Accordingly, following the arrest and removal of defendant Jordan from his

premises, a multitude of law enforcement officers entered the residence without a warrant under

the guise of conducting a protective sweep. One or more officers remained in the house for over

50 minutes without a search warrant.

       48.     The “protective sweep” was illegal, in violation of the Fourth Amendment,

because the officers were unaware of any facts that would give rise to a reasonable suspicion that

dangerous individuals were in the house “ready to launch an attack.” See United States v.

Waldner, 425 F.3d 514, 517 (8th Cir. 2005) (alleged protective sweep exceeded its permissible

scope under the Fourth Amendment where the officers had no reason to believe that an unknown

individual might be in the house ready to launch an attack). Indeed, as the officers knew, the

only people in the house with Jordan were an infant and a small child. Even if the officers had

harbored a reasonable suspicion of the presence of a danger in the house (which they did not),

this would not have justified the fact that one or more officers remained in the residence for more

than 50 minutes as part of the supposed sweep.

       49.     The officers used information obtained during the course of the illegal protective

search to obtain a search warrant to search defendant’s residence at 64 Brighton Park Drive.

Items seized from the residence pursuant to the tainted search warrant were “impermissible

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fruits” of the illegal security sweep. See United States v. Noushfar, 78 F.3d 1442, 1447-48 (9th

Cir. 1996).

               ii.     The search warrant for 64 Brighton Park Drive is defective because
                       the affidavit tendered in support of the warrant fails to establish
                       probable cause.

       50.     The affidavit proffered in support of the search warrant for 64 Brighton Park

Drive failed to set forth sufficient facts or create a fair probability that evidence of a crime would

be found at 64 Brighton Park Drive.

       51.     The affidavit begins by detailing the arrest of Jordan on August 27, 2015 at 64

Brighton Park Drive. The affidavit further alleges that Jordan told officers there were three

handguns inside the middle dresser drawer in his bedroom.

       52.     There is nothing in the affidavit that indicates that Jordan was a convicted felon or

otherwise prohibited from possessing a firearm (which he was not). Indeed, the search warrant

discounts the possibility that Jordan had a license for the guns he described keeping at the

residence. The alleged presence of firearms in the home formed a core basis for the officers’

subsequent application for a warrant to search the property. This justification is not valid

because it does not account for the possibility that the firearms were lawfully kept there, and

accordingly, it does not provide the requisite probable cause.

       53.     The affiant relates how law enforcement had received detailed information from a

cooperating witness described as one of Jordan’s former associates. According to the affidavit,

the cooperating witness told law enforcement officers that he participated in the distribution of

drugs and in a number of shootings and murders with Jordan. But, there is nothing in the

affidavit to suggest that any illegal activities occurred at the Brighton Park Drive address or that


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any guns located at said address had been used in any criminal activity. Furthermore, on

information and belief, the cooperating witness in question said nothing to law enforcement

officers about the Brighton Park Drive address.                    Indeed, there is no indication that the

cooperating witness had ever even been to the Brighton Park Drive address.

         54.      The remainder of the affidavit contains boilerplate language relating to drug

traffickers in general. The affidavit contains no specific information as to the presence of any

contraband or evidence at 64 Brighton Park Drive.

         55.      Given the conclusory and vague circumstances and details contained in the

affidavit, the affidavit fails to create a fair probability that evidence of a crime would be found at

64 Brighton Park Drive. Accordingly, any and all evidence seized in conjunction with the search

warrant for the premises should be suppressed.

         D.       The Pontiac Grand Prix And All Items Collected Therefrom Should Be
                  Suppressed.

                  i.       The seizure of the Pontiac Grand Prix was not authorized by the
                           search warrant for 64 Brighton Park Drive.

         56.      The warrant authorizing the search of the premises located at 64 Brighton Park

Drive did not authorize the seizure of the Pontiac Grand Prix.

         57.      The search warrant specifically defined the premises as “a two story, single

family residence . . . with an attached two car garage[.]” See Aug. 27, 2015 Search Warrant

(JAV00001014). 1




1
 When she signed the warrant authorizing the search of the premises located at 64 Brighton Park Drive on August
27, 2015, Magistrate Judge Collins hand-wrote the date “8/27/2014” (emphasis added). This appears to have been
an inadvertent error, and the defense is not raising it as a basis for challenging the searches of the Brighton Park
Drive property or of the vehicle seized there.
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       58.     At the time of the application for the search warrant, the Grand Prix was parked in

the driveway of Jordan’s residence in an area clearly visible from the street, outside of the

premises described in the warrant.

       59.     The agents who applied for the search warrant were fully aware of the location of

the Grand Prix, having been present at 64 Brighton Park Drive during the time of Jordan’s arrest.

       60.     The Fourth Amendment provides that every search warrant shall particularly

describe “the place to be searched and the persons or things to be seized.” U.S. Const. amend.

IV.

       61.     The particularity requirement “prevents the seizure of one thing under a warrant

describing another.” Marron v. United States, 275 U.S. 192, 196 (1927).

       62.     The search warrant for the premises at 64 Brighton Park Drive did not authorize

the seizure of the Grand Prix. Said vehicle was not particularly described in the warrant, nor was

it found on the premises as defined in the warrant.

               ii.    The automobile exception to the warrant requirement does not justify
                      the seizure of the Pontiac Grand Prix.

       63.     The automobile exception to the warrant requirement allows the police to seize

and/or search a motor vehicle provided they have probable cause to believe that the vehicle

contains contraband. California v. Carney, 471 U.S. 386 (1985); Carroll v. United States, 267

U.S. 132 (1925).

       64.     The justification for the automobile exception is two-fold: the ready mobility of a

vehicle, and the lesser expectation of privacy that one has in their automobile due to government

regulations and controls. Carney, 471 U.S. at 390-92.



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       65.     As recognized by implication in Carney, the justifications for the automobile

exception do not apply where a motor vehicle is not being used on the highway, and is found in a

stationary place regularly used for residential purposes. Id. at 392-93.

       66.     At the time of the seizure of the Grand Prix, Mr. Jordan was in custody, and the

car was parked in his residential driveway. Unlike in Carroll and its progeny, mobility was not

an issue, and it would not have been impractical for the police to secure a warrant. See Carroll,

267 U.S. at 153.

       67.     The police had ample opportunity to apply for a warrant to search the Grand Prix,

and its seizure is not justified by the automobile exception to the warrant requirement. See

Coolidge, 403 at 458-62 (warrantless seizure of defendant’s car parked in the driveway of his

residence following his arrest was not justified by the automobile exception).

               iii.    The seizure of the Pontiac Grand Prix was not justified by the plain
                       view exception to the warrant requirement.

       68.     The plain view exception to the warrant requirement allows the warrantless

seizure of evidence of a crime provided that the seizing officer is lawfully located in the place

from which the item is plainly viewed; the item’s “incriminating character” is immediately

apparent; and the officer has “a lawful right of access to the object itself.” See Horton v.

California, 469 U.S. 128, 136-37 (1990).

       69.     For the plain view doctrine to apply, it is essential “that the officer did not violate

the Fourth Amendment in arriving at the place from which the evidence could be plainly

viewed.” Id. at 136.

       70.     The police had no rightful access to the Grand Prix parked in Jordan’s driveway,

and the seizure of the car was accomplished by means of a warrantless trespass. See Coolidge,
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403 U.S. at 465-72 (where, as suggested by the Court in Horton v. California, 496 U.S. at 137,

the seizure of Coolidge’s car parked in the driveway was accomplished by means of a

warrantless trespass on Coolidge’s property). Morevoer, there was no “immediately apparent”

incriminating character to the vehicle that would have justified its seizure. See Horton, 469 U.S.

at 136-37.

       71.     The seizure of the Grand Prix was not authorized by the plain view exception to

the warrant requirement. See Collins v. Virginia, 138 S. Ct. 1663, 1671-73 (2018) (seizure of

motorcycle parked within the curtilage of home is not justified by the automobile exception

where the police have no lawful right of access to the car).

               iv.     The search warrant for the Pontiac Grand Prix was the fruit of its
                       illegal seizure.

       72.     The search warrant for the Grand Prix was the direct result of the government’s

exploitation of its illegal seizure, and any items seized pursuant to that search warrant must be

suppressed. See Wong Sun v. United States, 371 U.S. 471 (1963).

       73.     Alternatively, the search warrant for the Grand Prix is defective in that the

affidavit tendered in support of the warrant fails to establish probable cause to believe there was

a fair probability that contraband or evidence would be found in the car. Rather, the affidavit

seeks to justify the search of the Grand Prix and three other vehicles through conclusory

statements that lack the requisite specificity. For example, the affiant states that unspecified

“interviews” with “numerous witnesses, confidential informants, and parties related to the

investigation,” together with “other aspects of the case,” demonstrate Jordan’s “past utility” of

the four subject vehicles “to further his criminal organization. Though officers purportedly

received information from a cooperating witness about the use of the Grand Prix in criminal
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activities, they also supported their request for a search warrant by claiming to have observed

semi-automatic firearm magazines in plain view therein. Once again, this assertion provides no

probable cause for a search, as it discounts the possibility that Jordan lawfully possessed

firearms. Thus, these vague and unsupported claims fail to satisfy the particularity requirement.

See Marron, 275 U.S. at 196.

       E.      The Vehicles Seized From PUR Performance Center And All Items Collected
               Therefrom Should Be Suppressed

       74.     On August 28, 2015, one day after Jordan’s arrest, the FBI and DEA were

contacted by someone at the PUR Performance Center in St. Charles, Missouri regarding two

vehicles belonging to Jordan which were on the lot. One vehicle was described as a 2004

Pontiac GTO and the other was described as a 2004 Chevrolet SS Silverado.

       75.     According to PUR Performance records, Jordan dropped the vehicles off at the

location on August 4, 2015. At the time he dropped the vehicles off he provided his name and an

updated telephone number to employees at the location. Customer records showed that Jordan

was a “loyal customer” for about five years and would routinely drop vehicles off for service.

Additionally, it was not unusual that the vehicles would remain at the location for an extended

period of time following service prior to being reclaimed by Jordan.

       76.     During the phone call placed to FBI/DEA on August 28, 2015, the caller indicated

he had learned of Jordan’s arrest the day before on the news. In response to the call, Detective

Dan Early of the St. Louis Metropolitan Police Department, responded to the location and, after

consulting with Assistant United States Attorney Michael Reilly, seized both vehicles without

consent from Jordan and without a warrant.



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                i.     The warrantless seizure of the vehicles from PUR Performance
                       Center was in violation of the Fourth Amendment.

       77.     A seizure of property occurs when the government intrudes on the property of

another and thereby “meaningfully interferes” with that individual’s possessory interest in the

property. Coleman v. Watt, 40 F.3d 255, 263 (8th Cir. 1994); see also United States v. Clutter,

674 F.3d 980, 984 (8th Cir. 2012). “The reasonableness standard of the Fourth Amendment

applies to any seizure by the government in any context.” Coleman, 480 F.3d at 263. Whether

or not a search is constitutionally reasonable has been evaluated based on whether it actually

constituted a “seizure,” whether officers had a legitimate interest in avoiding destruction of the

seized property, and whether the seizure was supported by probable cause. See, e.g., Clutter, 674

F.3d at 984-85; United States v. Beasley, 688 F.3d 523, 529-30 (8th Cir. 2012).

       78.     In situations where a seizure is carried out with the consent of a third party, courts

also evaluate the validity of that consent, inquiring whether the individual who consented to the

seizure had actual or apparent authority to do so. See Clutter, 674 F.3d at 985; Beasley, 688 F.3d

at 530. Courts also look to whether officers acted reasonably in light of this actual or apparent

authority. See, e.g., Beasley, 688 F.3d at 530; cf. Marvin v. United States, 732 F.2d 669 (8th Cir.

1984) (after a third party consented to a search without actual or apparent authority to do so, the

seizure of items pursuant to that search was constitutionally unreasonable).

       79.     The employee of PUR Performance who turned over the vehicles to law

enforcement lacked actual or apparent authority to consent to the seizure of those vehicles,

rendering that seizure constitutionally unreasonable. Indeed, the officers who responded to PUR

Performance were well aware that the vehicles were on the business’s premises for repairs.

Employees informed the officers that Jordan routinely brought vehicles to the business for
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maintenance. They further informed officers that it was routine for the vehicles to remain at

PUR Performance for an extended period of time before being picked up by Jordan. Under these

circumstances, any authority granted to the business by Jordan would have extended only to

entering the vehicles for repair purposes, driving the vehicles on the premises to facilitate those

repairs, and carrying out any other maintenance requested by Jordan. It was not reasonable for

officers to conclude that Jordan had authorized employees of PUR performance to consent to the

seizure of Jordan’s vehicles by law enforcement.

       80.      Further, the seizure of the vehicles was not supported by probable cause. The

employees of PUR performance gave officers no indication that the vehicles were linked to any

criminal conduct, and gave officers no reason to believe that evidence would be found therein.

To the contrary, employees described Jordan as a loyal customer who regularly had his vehicles

serviced by PUR Performance. Neither the officers nor the PUR employees observed any

contraband in plain view inside of the car.          Employees of the business relayed to law

enforcement that they had on occasion observed weapons and ammunition inside Jordan’s

vehicles.    But there is no indication that Jordan possessed these weapons or ammunition

unlawfully; law enforcement evidently discounted the possibility that Jordan was licensed to

carry the weapons in question. Moreover, there is no indication that firearms were ever observed

in either the Pontiac GTO or the Chevrolet Silverado.

       81.      The Northern District of Iowa’s recent decision in United States v. Fife, 356 F.

Supp. 3d 790 (N.D. Iowa 2019), is instructive. There, the court suppressed evidence gathered

from a computer hard drive that had been offered to law enforcement by the defendant’s family

friend. After receiving the hard drive, law enforcement waited six months before obtaining a

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warrant to search it. The Fife court found the seizure of the hard drive unreasonable for Fourth

Amendment purposes. In addition to considering the unreasonableness of the six-month delay,

the court noted that the defendant had not consented to the search, even though the computer at

issue “belonged to him and no one else” and he had password-protected it. The court reasoned

that when a private party “lack[s] common authority to consent to” a seizure and does so

anyway, “law enforcement may not seize the property indefinitely without obtaining a warrant

when the evidentiary or illegal character of the property is not ‘plain’ from looking at it.” Id. at

806.

       82.     Though officers in Fife had delayed six months before obtaining a warrant to

search the seized hard drive, the Fife court based its conclusion largely on the Eleventh Circuit’s

2009 decision in United States v. Mitchell, 565 F.3d 1347 (11th Cir. 2009). Mitchell, in turn,

involved the reasonableness of the seizure of a hard drive in light of officers’ delay in obtaining a

warrant after it was seized. Even though the officers had delayed for only twenty-one days, the

Eleventh Circuit found that this delay was unreasonable and required suppression. Here, too,

officers waited almost three weeks before obtaining a warrant to search the vehicles seized from

PUR Performance – a constitutionally unreasonable delay.

       83.     Here, as in Fife, officers acted unreasonably—both in effecting a warrantless

seizure that was not consented to by a person who had “actual or apparent authority” to so

consent, and in delaying unnecessarily before seeking a warrant to search the vehicles.

“Reasonableness” remains the touchstone of any warrantless seizure, see Coleman, 480 F.3d at

263, and here, there was no basis for the officers to take the steps that they took in recovering the




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two vehicles from PUR Performance.          The seizure of the vehicles was constitutionally

unreasonable, and should be invalidated under the Fourth Amendment.

              ii.     The search warrant for the vehicles seized from PUR Performance
                      Center was the fruit of their illegal seizure and was not supported by
                      probable cause.

       84.     The search warrants for the Pontiac GTO and the Chevrolet Silverado that were

seized from PUR Performance resulted directly from the government’s constitutionally

unreasonable seizure of the two vehicles, and any items seized pursuant to those search warrants

must be suppressed. See Wong Sun, 371 U.S. 471.

       85.     Alternatively, the search warrants for the two vehicles seized from PUR

Performance are deficient, and the searches conducted pursuant to those warrants should be

invalidated, because the information provided in support of the applications for those warrants

did not give rise to probable cause. In seeking the search warrants, officers submitted a single

affidavit lacking in particularity as to why they believed they would find contraband or other

evidence in the vehicles. Indeed, the affiant relayed that the vehicles were being kept at PUR

Performance for servicing; the Pontiac GTO had a maintenance slip that stated “Tranny

Slipping” (in apparent reference to the car’s transmission), and the Chevrolet Silverado’s air-

conditioning system needed work. Employees of PUR Performance described Jordan as a loyal

customer who regularly brought his cars to the business for service.

       86.     There is no indication in the affidavit that contraband or evidence of a crime

would be found in the vehicles. With respect to the Pontiac GTO, the affiant relayed, in vague,

unsubstantiated and uncorroborated terms, that the FBI had “received information during the

course of the investigation” that, at some unspecified time, Jordan had used the car “to transport

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and distribute drugs, commit shootings, and flee from law enforcement.” Nowhere does the

affidavit specify that drugs were being transported in the GTO at or near the time of the seizure,

or that any other evidence had conceivably been in the car at or near the time of the seizure.

Without particular and recent information about the possibility that evidence or contraband will

be located, a search warrant lacks the requisite particularity. See Kennedy, 427 F.3d at 1141

(suppressing methamphetamine seized from a defendant’s car because witness whose testimony

gave rise to warrant had not seen drugs in the car for more than six months prior to the search).

As for the Chevrolet Silverado, the affiant submits that a cooperating witness reported that, at

some unspecified time in the past, Jordan had used the vehicle “to pull a trailer, which contained

drugs.” Again, this vague assertion gives no indication that drugs (or anything else) might be in

the vehicle at or near the time of the search, and is therefore insufficient to support probable

cause.

         87.   Even more problematic is the fact that the affidavit, which served as the basis for

issuance of the warrant, seems to suggest that probable cause existed because PUR Performance

employees had observed weapons and ammunition in the Chevrolet Silverado and in other of

Jordan’s vehicles (though not, apparently, in the Pontiac GTO). Tens of millions of Americans

are licensed to lawfully carry firearms, and the fact that a person chooses to do so does not give

rise to probable cause that his vehicles will contain contraband or evidence of a crime. Yet here,

the warrant application completely discounts the possibility that Jordan kept firearms and

ammunition because he had a license to do so. Without an assertion that the firearms and

ammunition were not in Jordan’s car lawfully, the purported presence of those items does not

give rise to probable cause.

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       88.     For these reasons, the warrants to search the Pontiac GTO and the Chevrolet

Silverado should be invalidated, and the items seized from the two vehicles should be

suppressed.

       F.      Any And All Information Obtained From The Search Of The Fifteen Cell
               Phones Is Subject To Suppression

               i.     The fifteen cell phones were illegally searched after the expiration of
                      the search warrant.

       89.     As set forth in section I.H, supra, on October 6, 2015 law enforcement officers

obtained a warrant authorizing them to search fifteen individual cell phones within eight days—

no later than October 14, 2015. Not until October 28, 2015, two weeks after the expiration of

the warrant, did officers extract information from the fifteen phones.

       90.     Rule 41(e) of the Federal Rules of Criminal Procedure is unambiguous that any

warrant must command the officer to execute the warrant within no more than fourteen days, and

here, the warrant did so by directing execution within eight days of issuance. Where a warrant

seeks electronically stored information, such as on a cell phone, the deadline for execution refers

to “the seizure of on-site copying of the media or information” in question. Fed. R. Crim. P.

41(e)(2)(B).

       91.     Where a warrant is executed in contravention of Rule 41’s requirements,

exclusion of the seized evidence can be appropriate where there is a constitutional infirmity or

“if a defendant is prejudiced or if reckless disregard of proper procedure is evident.” United

States v. Nyah, 928 F.3d 694, 700-01 (8th Cir. 2019) (citing United States v. Spencer, 439 F.3d

905, 913 (8th Cir. 2006)). These issues—particularly the issue of whether officers acted in

reckless disregard of Rule 41’s requirement and the deadline set forth on the face of the

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warrant—are factual questions that should be resolved with reference to evidence to be adduced

at a hearing. Accordingly, Jordan respectfully requests that this court conduct a suppression

hearing so that these issues can be explored further.

               ii.     The warrant to search the fifteen cell phones was premised on the
                       false assertion that Jordan had a felony conviction.

       92.     The warrant authorizing the search of the fifteen cell phones is additionally

problematic because the affidavit submitted in support of the application for that warrant was

premised on the false statement that Jordan “has a 2005 conviction for Unlawful Use of

Weapon.” Without this unsupported and untrue claim that Jordan was a convicted felon, the

affidavit would likely not give rise to probable cause for the search.

       93.     If an affiant makes a false statement knowingly or intentionally, or with reckless

disregard for the truth, in a warrant affidavit, and if that statement is necessary to the finding of

probable cause, the defendant is entitled to a hearing. Franks v. Delaware, 438 U.S. 154, 155-56

(1978). Stated differently, a defendant may request and obtain an evidentiary hearing upon a

showing that the affidavit supporting the warrant “contained false statements or omissions that

were material to the finding of probable cause.” United States v. Oleson, 310 F.3d 1085, 1090

(8th Cir. 2002); see also, e.g., United States v. Anton, 546 F.3d 1355, 1358 (11th Cir. 2008)

(finding probable caused based on defendant’s felon status because “convicted felons . . .

typically store [firearms] on their property”).

       94.     Here, the statement that Jordan had been convicted of a felony is demonstrably

false, and without it, it is entirely likely that the magistrate would not have found probable cause

to issue the warrant. Mr. Jordan submits that the statement was not the result of mere negligence



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on the part of the affiant, who could (and should) have verified Jordan’s criminal record before

attempting to describe it in the affidavit.

        95.     “A full evidentiary hearing is essential to determine whether the government can

show that the affidavit did not contain false statements, or that any false statements were not

necessary to the showing of probable cause, or were not made intentionally or with reckless

disregard for the truth.”     United States v. Maxwell, 778 F.3d 719, 732 (8th Cir. 2015).

Accordingly, Mr. Jordan respectfully requests an evidentiary hearing on the issue of the falsity of

the statement that he has a felony conviction.




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III.   CONCLUSION

       96.     Additional authority will be provided after the facts are developed at the

evidentiary hearing and additional discovery has been received.

       WHEREFORE, defendant Jordan requests that this Court conduct an evidentiary hearing

regarding the above-mentioned searches and seizures and thereafter, for each and all of the

foregoing reasons, issue its order suppressing any and all evidence obtained by the government

as a result of the searches and seizures.


                                                    Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        I hereby certify that on April 1, 2021, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon the
following: Mr. Thomas Rea and Ms. Erin Granger, Assistant United States Attorneys, 111 South
10th Street, 20th Floor, St. Louis, Missouri 63102 and Ms. Sonia Jimenez, Esq., Capital Case
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                                                   /s/ Maria A. Pedraza_______
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